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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                 4:04-CR-00147-07-WRW

ROBERT ARNETT

                                             ORDER

       Pending is the Prosecution’s Motion For Early Termination of Supervised Release

(Doc. No. 643) in which the Prosecution asks the Court to terminate Defendant Robert Arnett’s

supervised release. The Prosecution’s Motion sets out that Defendant Arnett successfully

completed his term at the City of Faith residential reentry center, and has complied with all

conditions of supervised release.1 The Prosecution’s Motion also sets out that Defendant Arnett’s

supervising probation officer has no objection to the Court terminating Mr. Arnett’s supervised

release.2 For good cause shown, the Prosecution’s Motion is GRANTED. Defendant Robert

Arnett’s supervised release is terminated.

       IT IS SO ORDERED, this 27th day of October, 2008.



                                             /s/ Wm. R. Wilson, Jr._________
                                             UNITED STATES DISTRICT JUDGE




       1
        Doc. No. 643.
       2
        Id.
